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Honorable Robert S. Lasnik

]N TH]E UNITED STATES DISTRlCT COURT
VVESTERN DISTRICT OF WASHINGTON

_Ar sEATTLE
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_ v } oRDER :ro AMEND
v_ s - - V_ CASE sCHEDULE _ -
EXPEDIA lNc., awashmgton corporation NO'T`E oN .M'orloN CALENDA`R: '

`FEBRUARY 13', 2018
Defendant. _ . ` '

Pursuant to LCR 7(d)(l) and LCR_ lO(g), plaintiff Ryanair DACl (_“Ryanair”) and defendant
Expedia Inc. (l‘EXpedia”), by and through their counsel, hereby stipulate and more for a tWo~Week
extension of the deadlines for Ryanair to respond to Expedia’s motion to dismiss and request for
judicial notice, a two-week extension of the deadline for Ryanair to amend its complaint pursuant to
FRCP 15 (a)(l)(B),_ and a stay of the pretrial deadlines related to FRCP 26(a) and 26(1`) until aRer the
Court resolves Expedia’s pending motion.

STIPULATED MOTION

The parties hereby stipulate as follows:

Expedia filed a motion to dismiss (Dkt. # 18) and request for judicial notice (Dkt. # 20) on
February 5, 2018, making Ryan_air’s responses due on February 26, 2018. Counsel for Ryanair are
scheduled to`be in a preliminary injunction hearing around the time Ryanair’s responses are due and

therefore request additional time to file its responses ln accordance With the extension of the

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deadlines related to Expedia’s motion to dismiss and request for judicial notice, the parties also
request a two-Week extension of the deadline for Ryanair to amend its complaint pursuant to FRCP
lS(a)(l)(B). To conserve time and resources, the parties respectfully request a stay of the initial
FRCP_26 deadlines for the parties’ discovery conference, initial disclosures, and joint status report
until after the Court resolves EXpedia’s motion to dismiss As set forth in the Court’s Order '
regarding Initial Disclosures, Joint Status Report, and Early Settlement (Dkt. # 23), the current
deadline for the parties to hold their FRCP 26(f) conference is February 21, 2018, the deadline to
exchange initial disclosures pursuant to FRCP 26(a)(l) is February 28, 201 8, and the deadline for the

parties to file their combined joint status report and discovery plan pursuant to FRCP 26(f) and LCR'

». 26(1) is Mar¢h i, 2018.

7 Accordingly, the parties agree and stipulate that good cause exists to continue the deadlines
for Ryanair to respond to Expedia’s motion to dismiss and request forjudicial notice and for Ryanair
to amend its complaint pursuant to FRCP lS(a)(l)(B) for two Weel<s, to March 12, 2018, and agree
that Expedia’s reply in support of its motion to dismiss shall be due andnoted for consideration on `
March 30, 2018. The parties agree that the initial deadlines under FRCP 26 for the parties to hold
their discovery conference, to serve initial disclosures, and to file their joint status report should be
stayed until after the Court resolves Expedia’s motion to dismiss

srlPULArED AND AGREED an Febmary 13, 2018:

 

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7 SULLIVAN, LLP

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RYANA}R DAC _
Attomeys for Defendant Expedia, Inc.

ORDER
Pursuant to the above stipulation, and good cause appearing, IT IS' SO ORDEBED that

Ryanair’s responses to Expedia’s motion to dismiss and request forjudicial notice, and any

` amendment of its complaint pursuant to FRCP 15(a)(1)(B), are due on March 12, 2018, and

Expedia’s reply-in support of its motion to dismiss is due on Mar_ch 30_,` 2018. The deadlines for the
parties to hold their FRCP 26(f) conference, to exchange initial disclosures pursuant to FRCP
26(a)(1),.and to file their combined joint status report and discovery plan pursuant to FRCP 26(1`)
and LCR 26(t) as described in the Court’s Order (Dkt. # 23) are stayed until afterthe lCourt resolves
Expedia’s motion to dismiss v 7

gr' _ `
DATED thng day ar rebmary, 201 s

   

The Honorable Robert S. Lasnik
United States-District ludge

 

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